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                    UNITED STATES BANKRUPTCY COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA
____________________________________
In re:                               : Chapter 7
                                     :
FINANCIAL BUSINESS AND              :
CONSUMER SOLUTIONS, INC.,            : Case No. 24-13029 AMC
                                     :
                        Debtor.      :
____________________________________:

                               CERTIFICATION OF SERVICE

MARTHA B. CHOVANES, of full age, hereby certifies as follows:

        1.     I am a partner with the law firm of Fox Rothschild LLP, attorneys for Christine C.

Shubert, the Chapter 7 Trustee in the above captioned proceedings.

        1.     On September 4, 2024, I caused true and correct copies of the Application of the

Chapter 7 Trustee for Entry of an Order Pursuant to 11 U.S.C. §§ 327(a) and 328(a,) Fed. R. Bankr.

P. 2014 and L.B.R. 2014-1 Authorizing the Retention and Employment of Fox Rothschild LLP as

Attorneys for Christine C. Shubert, Chapter 7 Trustee, Effective as of the Petition Date (the

“Application”) [D.I. 19], proposed form of Order (the “Order”) and Notice of Application (the

“Notice”) [D.I. 20] to be served via U.S.P.S. First Class Mail, postage pre-paid, on the parties

listed on the attached Service List.

        3.     I hereby certify that the foregoing statements made by me are true. I am aware

that if any of the foregoing statements made by me are willfully false, I am subject to

punishment.

                                              /s/ Martha B. Chovanes
                                             Martha B. Chovanes
                                             FOX ROTHSCHILD LLP
                                             2000 Market Street – 20th Floor
                                             Philadelphia, PA 19103-3222

                                             Proposed Attorneys to the Chapter 7 Trustee
Dated: September 13, 2024


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 Leslie C. Bender, Esquire                      Jennifer B. Kimble, Esquire               Christine C. Shubert, Trustee
 Eversheds Sutherland (US) LLP                  Kymberly Kochis, Esquire                  821 Wesley Avenue
 700 Sixth Street, NW, Suite 700                Eversheds Sutherland (US) LLP             Ocean City, NJ 08226
 Washington, DC 20001                           1114 Avenue of the Americas, 40th Floor
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 John H. Schanne, Esquire                       Kacie Cartwright, Esquire
 Office of the United States Trustee            Office of the United States Trustee
 Robert N.C. Nix Federal Building               Robert N.C. Nix Federal Building
 900 Market Street, Suite 320                   900 Market Street, Suite 320
 Philadelphia, PA 19107                         Philadelphia, PA 19107




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